                    Case 21-30161            Doc 1       Filed 03/27/21 Entered 03/27/21 19:47:03                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                City Church

2.   All other names debtor
     used in the last 8 years     FDBA Full Gospel Fellowship Church
     Include any assumed          FDBA University City Church
     names, trade names and       FDBA Full Gospel Ministries
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  11901 Sam Furr Road                                             1994 University Church Dr.
                                  Huntersville, NC 28078                                          Huntersville, NC 28078
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Mecklenburg                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       citychurchcogic.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    City Church                                                                                  Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 8131

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    City Church                                                                                     Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 3
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Debtor   City Church                                                                 Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    City Church                                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 27, 2021
                                                  MM / DD / YYYY


                             X   /s/ Michael A. Stevens, Sr.                                              Michael A. Stevens, Sr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Senior Pastor




18. Signature of attorney    X   /s/ Robert Lewis, Jr.                                                     Date March 27, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robert Lewis, Jr.
                                 Printed name

                                 The Lewis Law Firm, P.A.
                                 Firm name

                                 P. O. Box 1446
                                 Raleigh, NC 27602
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     919-609-2494                  Email address      rlewis@thelewislawfirm.com

                                 35806 NC
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         City Church

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          March 27, 2021                          X /s/ Michael A. Stevens, Sr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       Michael A. Stevens, Sr.
                                                                       Printed name

                                                                       Senior Pastor
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name City Church
 United States Bankruptcy Court for the: WESTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 ACS Technologies                                                Church Database                                                                                              $235.17
 180 Dunbarton Dr.                                               Software
 Florence, SC 29501
 Aqua                                                            Sewer services                                                                                             $3,490.75

 AT&T                                                            Fire alarm                                                                                                   $596.44
 5940 Fairvew Rd Ste
 Suite 100
 Charlotte, NC 28210
 Benfield Sanitation                                                                                                                                                          $555.38
 Services
 9925 Metromont
 Industrial Blvd
 Charlotte, NC
 28269-7609
 Centi Mark                                                                                                                                                               $16,829.00
 6021 Airport Dr
 Suite 100,
 Charlotte, NC 28208
 Church Mutual                                                                                                                                                              $4,443.06
 (Insurance)
 8625 Mallard Creek
 Rd,
 Charlotte, NC 28262
 City of Charlotte                                               Water                                                                                                        $913.41
 600 East 4th Street
 Charlotte, NC 28202
 ElectriCitie                                                    ElectriCities (Sam                                                                                           $199.66
 11316 Sam Furr Rd                                               Furr Rd Lights)
 Huntersville, NC                                                11316 Sam Furr
 28078                                                           Rd
                                                                 Huntersville, NC
                                                                 28078
                                                                 704.948.0550
 ElectriCities                                                                                                                                                              $6,001.58
 11316 Sam Furr Rd
 Huntersville, NC
 28078

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    City Church                                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 FLS Landscaping                                                 Landscaping                                                                                            $143,300.00
 and yard Services
 10808 John Russell
 Road
 Charlotte, NC 28213
 Hadar and Best                                                                                                                                                             $4,450.00
 Finishes for Gym
 Renovati

 INTERNAL                                                        Filing Information                                                                                       $69,746.00
 REVENUE SERVICE                                                 Filing Date:
 PO Box 7346                                                     12/02/2019
 Philadelphia, PA                                                Tax Lien: Payroll
 19101-7346                                                      Tax
                                                                 Original Filing
                                                                 Number:
                                                                 2019M008799
                                                                 Jurisdiction: NC
                                                                 Amount:
                                                                 $69,746.00
 Killingsworth                                                                                                                                                                $400.00

 Lefler Electronics                                                                                                                                                           $472.72
 (LEI)
 2610 Oakview Dr
 SW
 Concord, NC 28027
 Linzac                                                                                                                                                                     $1,470.00
 9309 Titus Ln
 Huntersville, NC
 28078
 Lumen                                                                                  Disputed                                                                          $31,873.01
 100 CenturyLink
 Drive
 Monroe, LA 71203
 Martin Roofing                                                                                                                                                               $834.99
 1407 Golden
 Needles St.
 Wilkesboro, NC
 28697
 PNG (Gas)                                                                                                                                                                  $1,772.00
 PO Box 1246
 Charlotte, NC
 28201-1246
 R2 Development for                                                                     Disputed                                                                          $20,000.00
 1.7 acres on
 Torrence

 Time                                                                                                                                                                     $40,720.00
 Warner/Spectrum
 Phone Lines
 2222 South Blvd.
 Charlotte, NC 28203

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    City Church                                                                                       Case number (if known)
           Name




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                    page 3

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 Fill in this information to identify the case:

 Debtor name            City Church

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $        8,600,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            54,616.58

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        8,654,616.58


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        6,604,789.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $            69,746.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           278,840.11


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           6,953,375.11




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         City Church

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                      $0.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    Business Accounts:
                    Bank of America - checking ending
           3.1.     Feb2021                                                 Checking                        2307                                     $4,849.12



                    Checking accounts: Bank of America
           3.2.     ending Feb2021                                          Checking                        2297                                     $2,332.46



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                      $7,181.58
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit

 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                           page 1
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 Debtor           City Church                                                                  Case number (If known)
                  Name




           8.1.     None                                                                                                                             $0.00




 9.        Total of Part 2.                                                                                                                     $0.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 0.00    -                                0.00 = ....                            $0.00
                                              face amount                        doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                     $0.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                        Valuation method used      Current value of
                                                                                                        for current value          debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:


           14.1.     None                                                                                                                            $0.00



 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership


           15.1.     None                                                                       %                                                    $0.00



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


           16.1.     None                                                                                                                            $0.00




 17.       Total of Part 4.                                                                                                                     $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         City Church                                                                      Case number (If known)
                Name


        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used     Current value of
                                                      physical inventory         debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 19.       Raw materials
           None                                                                                $0.00                                                $0.00



 20.       Work in progress
           None                                                                                $0.00                                                $0.00



 21.       Finished goods, including goods held for resale
           None                                                                                $0.00                                                $0.00



 22.       Other inventory or supplies
           None                                                                                $0.00                                                $0.00



 23.       Total of Part 5.                                                                                                                    $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used     Current value of
                                                                                 debtor's interest      for current value         debtor's interest
                                                                                 (Where available)

 39.       Office furniture




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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 Debtor         City Church                                                                  Case number (If known)
                Name

           Cafe & Gymn Kitchens *
           Black Plastic Chairs 92 $50.00 $4,600.00
            Commercial Ice Maker 1 $400.00 $400.00
            Commercial Deep Fryer 3 $800.00 $2,400.00
            Commercial Freezer 1 $900.00 $900.00
           Stainless Steel Tables 2 $75.00 $150.00
            Stainless Steel Server Table 1 $25.00 $25.00
           Tilt 1 $695.00 $695.00
            Commercial Refrigerator 2 $900.00 $1,800.00
           Steamer 1 $600.00 $600.00
            Commercial Stove 2 $785.00 $1,570.00
            Mini Commercial Refrigerator 1 $-
            Small Deep Freezer 1 $100.00 $100.00
            Commercial Warmer 1 $250.00 $250.00
           Round Tables -white 12 $50.00 $600.00
            Rectangular Tables - white 10 $50.00
           $500.00
           Stainless Steel & Glass Display 1 $600.00
           $600.00
            Bunn Coffee Maker 1 $145.00 $145.00
            Commercial Microwave 1 $325.00 $325.00                                    $15,660.00     Liquidation                  $15,660.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           PC's 8 $180.00
           Phones 6 $50.00
           Desk Top Copiers 6 $75.00
           Brother Color Copier 1 $400.00
           Large Copier 1
           Desks 7 $500.00
           Lateral File Cabinets - Black 5 Drawer 5
           $120.00
           Book Shelves 2 $150.00
           Office Chairs 6 $50.00
           Side Chair 4 $50.00
           Small Round Conference Table 1 $250.00
           Chairs for Conference Table 4 $50.00
           Large Conference Table 1 $300.00
           Lateral File Cabinet - Faux Wood1 $120.00
           Small File Cabinet_Black 1 $70.00
           Money Counter 1                                                              $8,430.00    Liquidation                   $8,430.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. None                                                                      $0.00                                        $0.00



 43.       Total of Part 7.                                                                                                    $24,090.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 4
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 Debtor         City Church                                                                   Case number (If known)
                Name


               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used     Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value         debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     Old salvaged bus - non-operatable                                    $500.00    Liquidation                             $500.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
           48.1. None                                                                $0.00                                                       $0.00



 49.       Aircraft and accessories

           49.1.     None                                                                   $0.00                                                $0.00



 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           None                                                                             $0.00                                                $0.00


           Media Dept
           Computers 8 $180.00 $1,440.00
           Hard Drives $-
           Desk 2 $500.00 $1,000.00
           Chairs 4 $25.00 $100.00
           Cameras 3 $-
           Monitors 2 $-
           Desk Top Printer 1 $75.00 $75.00
           50" Monitor 1 $-                                                             $2,615.00    Comparable sale                       $2,615.00




 51.       Total of Part 8.                                                                                                            $3,115.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
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 Debtor         City Church                                                                   Case number (If known)
                Name


        Yes Fill in the information below.

 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used     Current value of
            property                                      extent of           debtor's interest        for current value         debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. Church Facility:
                     Location-11901 Sam
                     Furr Road,
                     Huntersville, NC
                     28078
                     VALUATION                            Fee simple               $8,600,000.00       Comparable sale                   $8,600,000.00




 56.        Total of Part 9.                                                                                                           $8,600,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used      Current value of
                                                                              debtor's interest        for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            None                                                                            $0.00                                                    $0.00



 61.        Internet domain names and websites
            Yes:                                                                       Unknown         N/A                                           $0.00


            Citychurchcogic.com                                                        Unknown                                                       $0.00



 62.        Licenses, franchises, and royalties
            None                                                                            $0.00                                                    $0.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 6
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 Debtor         City Church                                                                    Case number (If known)
                Name

            None                                                                             $0.00                                                     $0.00



 65.        Goodwill
            None                                                                             $0.00                                                     $0.00



 66.        Total of Part 10.                                                                                                                       $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                     Current value of
                                                                                                                                     debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
                                                                                    0.00 -                                  0.00 =
            None                                                      Total face amount      doubtful or uncollectible amount                          $0.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            None                                                                                 Tax year                                              $0.00



 73.        Interests in insurance policies or annuities

            None                                                                                                                                       $0.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

            None                                                                                                                                       $0.00
            Nature of claim
            Amount requested                                             $0.00



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 7
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 Debtor         City Church                                                                  Case number (If known)
                Name

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           None                                                                                                                         $0.00
           Nature of claim
           Amount requested                                              $0.00



 76.       Trusts, equitable or future interests in property

           None                                                                                                                         $0.00



 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership

           None                                                                                                                         $0.00


           Admin Office Items:
           PC's 8 $180.00 $1,440.00
           Phones 6 $50.00 $300.00
           Desk Top Copiers 6 $75.00 $450.00
           Brother Color Copier 1 $400.00 $400.00
           Large Copier 1 $-
           Desks 7 $500.00 $3,500.00
           Lateral File Cabinets - Black 5 Drawer 5 $120.00
           $600.00
           Book Shelves 2 $150.00 $300.00
           Office Chairs 6 $50.00 $300.00
           Side Chair 4 $50.00 $200.00
           Small Round Conference Table 1 $250.00 $250.00
           Chairs for Conference Table 4 $50.00 $200.00
           Large Conference Table 1 $300.00 $300.00
           Lateral File Cabinet - Faux Wood 1 $120.00 $120.00
           Small File Cabinet_Black 1 $70.00 $70.00
           Money Counter 1 $-                                                                                                     $8,430.00


           Misc.
           Purple Chairs 12 $40.00 $480.00
           Credenza - Wood 1 $250.00 $250.00
           Bar Top Round Table /Chair 1 $500.00 $500.00
           Communion Table 1 $500.00 $500.00
           Plexiglass Podium (Small) 1 $225.00 $225.00
           Black Leather Sofa 1 $200.00 $200.00
           Shelving Units 2 $100.00 $200.00
           Storage Cabinets - Metal 4 $140.00 $560.00
           Storage Cabinets -Plastic 1 $75.00 $75.00
           Folding Chairs $-                                                                                                      $2,990.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 8
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 Debtor         City Church                                                                  Case number (If known)
                Name

           Day Care
           Cribs 6 $250.00
           Changing Station 2 $250.00
           Round Tables 3 $200.00
           Moon Table 1 $250.00
           Rectangular Table 3 $150.00
           Book Shelves - 4 Tier 1 $250.00
           Book Shelves - 5 shelves 2 $175.00
           Book Shelves 3 $75.00
           Cots 20 $50.00
           Storage Bins 5 $400.00
           High Chairs 2 $100.00
           Prep Table 1 $200.00
           Chairs (Small) $15.00
           Office Chairs 2 $150.00
           Desk Top Printer 1 $75.00
           PC's 2 $180.00
           Desks 1 $400.00
           Misc Daycare Playsets 3 $50.00                                                                                         $8,810.00




 78.       Total of Part 11.                                                                                                 $20,230.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                        page 9
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 Debtor          City Church                                                                                         Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                              $7,181.58

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $24,090.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $3,115.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $8,600,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $20,230.00

 91. Total. Add lines 80 through 90 for each column                                                              $54,616.58          + 91b.            $8,600,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $8,654,616.58




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 10
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 Fill in this information to identify the case:

 Debtor name         City Church

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Herring Bank, as Trustee                       Describe debtor's property that is subject to a lien               $6,500,000.00             $8,600,000.00
       Creditor's Name                                Church Facility: Location-11901 Sam Furr
                                                      Road, Huntersville, NC 28078
       1608 S. Polk Street                            VALUATION
        PA 16080
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Herring Bank, as Trustee
       2. Var Technology Finance
       3. Wells Fargo Financial
       Leasing Inc

 2.2   Var Technology Finance                         Describe debtor's property that is subject to a lien                          $0.00          $8,600,000.00
       Creditor's Name                                Church Facility: Location-11901 Sam Furr
       800 Walnut Street                              Road, Huntersville, NC 28078
       MAC N0005-044                                  VALUATION
       Des Moines, IA 50309
       Creditor's mailing address                     Describe the lien
                                                      UCC file no. 20170036925G
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number



Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       City Church                                                                             Case number (if known)
              Name

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

        Wells Fargo Financial
 2.3                                                                                                                           $104,789.00       $8,600,000.00
        Leasing Inc                                   Describe debtor's property that is subject to a lien
        Creditor's Name                               Church Facility: Location-11901 Sam Furr
        Service Agent/Officers                        Road, Huntersville, NC 28078
        2626 Glenwood Ave. Ste.                       VALUATION
        550
        Raleigh, NC 27608
        Creditor's mailing address                    Describe the lien
                                                      2017cvs018453
                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

                                                                                                                               $6,604,789.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Hamilton Stephens Steele Martin, PLLC
         525 N. Tryon Street, Ste. 1400                                                                         Line   2.1                      Demand Letter
         Charlotte, NC 28202

         Wells Fargo Financial Leasing Inc
         Service Agent/Officers                                                                                 Line   2.2
         2626 Glenwood Ave. Ste. 550
         Raleigh, NC 27608




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         City Church

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                    Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                        $69,746.00         $69,746.00
           INTERNAL REVENUE SERVICE                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101-7346                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Filing Information
                                                                     Filing Date: 12/02/2019
                                                                     Tax Lien: Payroll Tax
                                                                     Original Filing Number: 2019M008799
                                                                     Jurisdiction: NC
                                                                     Amount: $69,746.00

           Last 4 digits of account number 99NC                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         Unknown           $0.00
           NC Department of Revenue                                  Check all that apply.
           501 N. Wilmington Street                                     Contingent
           Raleigh, NC 27604                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 5
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 Debtor       City Church                                                                             Case number (if known)
              Name

 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $235.17
          ACS Technologies                                                      Contingent
          180 Dunbarton Dr.                                                     Unliquidated
          Florence, SC 29501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Church Database Software
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,490.75
          Aqua                                                                  Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Sewer services
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $596.44
          AT&T                                                                  Contingent
          5940 Fairvew Rd Ste                                                   Unliquidated
          Suite 100                                                             Disputed
          Charlotte, NC 28210
                                                                             Basis for the claim:    Fire alarm
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $555.38
          Benfield Sanitation Services                                          Contingent
          9925 Metromont Industrial Blvd                                        Unliquidated
          Charlotte, NC 28269-7609                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $16,829.00
          Centi Mark                                                            Contingent
          6021 Airport Dr Suite 100,                                            Unliquidated
          Charlotte, NC 28208                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,443.06
          Church Mutual (Insurance)                                             Contingent
          8625 Mallard Creek Rd,                                                Unliquidated
          Charlotte, NC 28262                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $913.41
          City of Charlotte                                                     Contingent
          600 East 4th Street                                                   Unliquidated
          Charlotte, NC 28202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Water
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       City Church                                                                             Case number (if known)
              Name

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $36.51
          Colonial Life                                                         Contingent
          1540 Westbrook Plaza Dr                                               Unliquidated
          Winston Salem, NC 27103                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $199.66
          ElectriCitie                                                          Contingent
          11316 Sam Furr Rd                                                     Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                                             ElectriCities (Sam Furr Rd Lights)
                                                                             Basis for the claim:
          Last 4 digits of account number                                    11316 Sam Furr Rd
                                                                             Huntersville, NC 28078
                                                                             704.948.0550
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $6,001.58
          ElectriCities                                                         Contingent
          11316 Sam Furr Rd                                                     Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $143,300.00
          FLS Landscaping and yard Services                                     Contingent
          10808 John Russell Road                                               Unliquidated
          Charlotte, NC 28213                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Landscaping
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $4,450.00
          Hadar and Best Finishes for Gym Renovati                              Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $400.00
          Killingsworth                                                         Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $472.72
          Lefler Electronics (LEI)                                              Contingent
          2610 Oakview Dr SW                                                    Unliquidated
          Concord, NC 28027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       City Church                                                                             Case number (if known)
              Name

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,470.00
          Linzac                                                                Contingent
          9309 Titus Ln                                                         Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $31,873.01
          Lumen                                                                 Contingent
          100 CenturyLink Drive                                                 Unliquidated
          Monroe, LA 71203
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $834.99
          Martin Roofing                                                        Contingent
          1407 Golden Needles St.                                               Unliquidated
          Wilkesboro, NC 28697                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,772.00
          PNG (Gas)                                                             Contingent
          PO Box 1246                                                           Unliquidated
          Charlotte, NC 28201-1246                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $20,000.00
          R2 Development for 1.7 acres on Torrence                              Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $90.00
          Security Central (Monitoring Service)                                 Contingent
          PO Box 5393                                                           Unliquidated
          316 Security Drive                                                    Disputed
          Statesville, NC 28677
                                                                             Basis for the claim:    316 Security Drive
          Date(s) debt was incurred
          Last 4 digits of account number                                    Statesville, NC 28677
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $40,720.00
          Time Warner/Spectrum Phone Lines                                      Contingent
          2222 South Blvd.                                                      Unliquidated
          Charlotte, NC 28203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       City Church                                                                             Case number (if known)
              Name

 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $156.43
           Uline                                                                Contingent
           12575 Uline Drive                                                    Unliquidated
           Pleasant Prairie, WI 53158                                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                        69,746.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       278,840.11

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          348,586.11




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 Fill in this information to identify the case:

 Debtor name         City Church

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         City Church

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         City Church

 United States Bankruptcy Court for the:            WESTERN DISTRICT OF NORTH CAROLINA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                               $590,474.27
       From 1/01/2020 to 12/31/2020
                                                                                                   Other    Church Operations

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       City Church                                                                               Case number (if known)



       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Pastor Michael                                              1Feb2020 -                       $60,000.00           Salary
               1994 City Church Dr.                                        1Feb2021
               Huntersville, NC 28078
               Founder

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                  Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    University City Chruch vs IRS                     Filing Number:             MECKLENBURG                                   Pending
                                                                 2019M008799                SUPERIOR COURT -                              On appeal
                                                                 Filing Type:               CHARLOTTE
                                                                                                                                          Concluded
                                                                 FEDERAL TAX
                                                                 LIEN
                                                                 Agency:
                                                                 MECKLENBURG
                                                                 SUPERIOR
                                                                 COURT -
                                                                 CHARLOTTE
                                                                 Agency State: NC
                                                                 Agency County:
                                                                 MECKLENBURG
                                                                 2. CIVIL
                                                                 JUDGMENT
                                                                 $26,840.00
                                                                 04/23/2018
                                                                 2017CVS018453
                                                                 NC


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

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 Debtor        City Church                                                                                  Case number (if known)




9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                       Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss        Value of property
       how the loss occurred                                                                                                                                  lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address
       11.1.                                                         $7500.00 - paid on 2.23.2021 by cashiers
                Robert Lewis, Jr.                                    check/Attorney fees
                PO Box 1446                                          $1738 filing fees - paid on 2.23.2021 by
                Raleigh, NC 27602                                    cashiers check                                                                     $9,238.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers          Total amount or
                                                                                                                         were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                            Description of property transferred or                     Date transfer         Total amount or
               Address                                           payments received or debts paid in exchange                was made                       value


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 Debtor      City Church                                                                                Case number (if known)



 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.
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 Debtor      City Church                                                                                Case number (if known)




          None

       Facility name and address                                     Names of anyone with                 Description of the contents        Do you still
                                                                     access to it                                                            have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                 Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known    Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 5
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 Debtor      City Church                                                                                Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       LGE Advisory Services                                                                                                      2019 -      Dec 29 2020
                    11710 Reisterstown Rd, Ste 204
                    Reisterstown, MD 21136
       26a.2.       OmniClerk                                                                                                                  Website:
                    Online Services                                                                                                            www.omniclerk.com
                                                                                                                                               . Email:
                                                                                                                                               support@omniclerk.
                                                                                                                                               com. Phone: +1 315
                                                                                                                                               636
                                                                                                                                               6590) (contract
                                                                                                                                               govern under the
                                                                                                                                               law of New York)

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any                    % of interest, if
                                                                                                          interest                                      any
       Michael A. Stevens, Sr.                        2533 Hamilton Crossing, Dr.                         Pastor and President of
                                                      Charlotte, NC 28214                                 Organization



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
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 Debtor      City Church                                                                                Case number (if known)




            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         March 27, 2021

 /s/ Michael A. Stevens, Sr.                                            Michael A. Stevens, Sr.
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Senior Pastor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                 Western District of North Carolina
 In re       City Church                                                                                      Case No.
                                                                                Debtor(s)                     Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 30,000.00
             Prior to the filing of this statement I have received                                        $                  7,500.00
             Balance Due                                                                                  $                 22,500.00

2.     $    1,738.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     March 27, 2021                                                             /s/ Robert Lewis, Jr.
     Date                                                                       Robert Lewis, Jr.
                                                                                Signature of Attorney
                                                                                The Lewis Law Firm, P.A.
                                                                                P. O. Box 1446
                                                                                Raleigh, NC 27602
                                                                                919-609-2494 Fax: 919-573-9161
                                                                                rlewis@thelewislawfirm.com
                                                                                Name of law firm




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                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Senior Pastor of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date March 27, 2021                                                         Signature /s/ Michael A. Stevens, Sr.
                                                                                            Michael A. Stevens, Sr.

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               VERIFICATION OF CREDITOR MATRIX


I, the Senior Pastor of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 27, 2021                                            /s/ Michael A. Stevens, Sr.
                                                                       Michael A. Stevens, Sr./Senior Pastor
                                                                       Signer/Title




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                      ACS Technologies
                      180 Dunbarton Dr.
                      Florence, SC 29501


                      Aqua



                      AT&T
                      5940 Fairvew Rd Ste
                      Suite 100
                      Charlotte, NC 28210


                      Benfield Sanitation Services
                      9925 Metromont Industrial Blvd
                      Charlotte, NC 28269-7609


                      Centi Mark
                      6021 Airport Dr Suite 100,
                      Charlotte, NC 28208


                      Church Mutual (Insurance)
                      8625 Mallard Creek Rd,
                      Charlotte, NC 28262


                      City of Charlotte
                      600 East 4th Street
                      Charlotte, NC 28202


                      Colonial Life
                      1540 Westbrook Plaza Dr
                      Winston Salem, NC 27103


                      ElectriCitie
                      11316 Sam Furr Rd
                      Huntersville, NC 28078


                      ElectriCities
                      11316 Sam Furr Rd
                      Huntersville, NC 28078


                      FLS Landscaping and yard Services
                      10808 John Russell Road
                      Charlotte, NC 28213
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                  Hadar and Best Finishes for Gym Renovati



                  Hamilton Stephens Steele Martin, PLLC
                  525 N. Tryon Street, Ste. 1400
                  Charlotte, NC 28202


                  Herring Bank, as Trustee
                  1608 S. Polk Street
                  PA 16080


                  INTERNAL REVENUE SERVICE
                  PO Box 7346
                  Philadelphia, PA 19101-7346


                  Killingsworth



                  Lefler Electronics (LEI)
                  2610 Oakview Dr SW
                  Concord, NC 28027


                  Linzac
                  9309 Titus Ln
                  Huntersville, NC 28078


                  Lumen
                  100 CenturyLink Drive
                  Monroe, LA 71203


                  Martin Roofing
                  1407 Golden Needles St.
                  Wilkesboro, NC 28697


                  NC Department of Revenue
                  501 N. Wilmington Street
                  Raleigh, NC 27604


                  PNG (Gas)
                  PO Box 1246
                  Charlotte, NC 28201-1246


                  R2 Development for 1.7 acres on Torrence
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                  Security Central (Monitoring Service)
                  PO Box 5393
                  316 Security Drive
                  Statesville, NC 28677


                  Time Warner/Spectrum Phone Lines
                  2222 South Blvd.
                  Charlotte, NC 28203


                  Uline
                  12575 Uline Drive
                  Pleasant Prairie, WI 53158


                  Var   Technology Finance
                  800   Walnut Street
                  MAC   N0005-044
                  Des   Moines, IA 50309


                  Wells Fargo Financial Leasing Inc
                  Service Agent/Officers
                  2626 Glenwood Ave. Ste. 550
                  Raleigh, NC 27608
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for City Church in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 27, 2021                                                      /s/ Robert Lewis, Jr.
 Date                                                                Robert Lewis, Jr.
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for City Church
                                                                     The Lewis Law Firm, P.A.
                                                                     P. O. Box 1446
                                                                     Raleigh, NC 27602
                                                                     919-609-2494 Fax:919-573-9161
                                                                     rlewis@thelewislawfirm.com




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